                             UNITED STATES DISTRICT COURT
                            EASTERN DISTRICT OF TENNESSEE
                                     AT KNOXVILLE

 UNITED STATES OF AMERICA                            )
                                                     )
                                                     )       No. 3:06-CR-136-05
 V.                                                  )       (PHILLIPS/SHIRLEY)
                                                     )
 CHRISTOPHER FORRESTER                               )


                                  MEMORANDUM AND O R D E R

                All pretrial motions in this case have been referred to the undersigned pursuant to

 28 U.S.C. § 636(c) for disposition or report and recommendation regarding disposition by the

 district court as appropriate.

                This matter came before the undersigned on August 6, 2007, for a motion

 hearing on defendant’s pro se Letter/Motion Requesting Appointment of New Counsel [Doc.

 161] on August 6, 2007. W. Brownlow Marsh, Assistant United States Attorney, was present

 representing the government and Charles T. Webber, Jr., was present representing the

 defendant. The defendant was also present.

                Counsel for the defendant represented to the court that the defendant’s pro se

 Letter/Motion for Reconsideration of Appointment of Counsel [Doc. 161] designed to review

 the appointment of counsel was no longer an issue and that he wished to have the Court issue

 an order which would moot the motion. The defendant stated in open court that he wished

 to have Mr. Webber continue as counsel of record. The government had no objection.




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       Therefore, the Letter/Motion for Reconsideration of Appointment of Counsel [Doc.

 161] is hereby Denied as Moot.

                    IT IS SO ORDERED.

                                          s/ C. Clifford Shirley, Jr.
                                        United States Magistrate Judge




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